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October 25, 2023
Via Email

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Re: Ahmed Bager et al v. St. Tammany Parish Government, et al
Civil Action No.: 20-980; USDC- Eastern District of Louisiana

Kevin Louviere et al v. St. Tammany Parish Government, et al
Civil Action No. 20-1840; U.S.D.C. — Eastern District of Louisiana

Dear Counsel:

We are in receipt of your email correspondence dated October 25, 2023, regarding an
exhibit that was attached to our summary judgement reply. We have reviewed your prior
discovery requests dated June 24, 2020,' and June 2, 2023.7 At no point in these discovery
requests did you request that Defendants produce this document. As a result, this document was
not produced during discovery. This document was attached to Defendants’ reply memorandum
due to the fact that it was germane to Defendants’ argument. We additionally note that Plaintiffs
in this matter have been continually informed that such contracts exist between the STPJ and
other state/federal authorities, yet have failed to request the production of any such contract.?

' See R. Doc. 68-3, Plaintiffs’ Interrogatories and Requests for Production to Defendants for Class Discovery.

? See Plaintiffs’ Requests for Production of Documents to Defendants, attached herein as Exhibit “1.”

> See R. Doc. 234-8, 30(b)(6) Deposition Testimony of Lacey Kelly, pgs. 48 — 50; pg. 80; pg. 165; See also R. Doc.
234-11, Deposition Testimony of Sheriff Smith, pgs. 12 — 18; pgs. 24 — 28; pgs. 37 — 38; pgs. 86-91; pg. 119.

Northshore ¢ 68031 Capital Trace Row ¢ Mandeville, Louisiana 70471 © (985) 292-2000 © Fax (985) 292-2001
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MILLING BENSON WOODWARD L.L.P.
October 25, 2023

Page 2
Sincerely,
Chadwick W. Collings
Kenneth R. Whittle
CWC/KRW

Enclosures
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

AHMED BAQER, et al., *
Plaintiffs; =
- DEMAND FOR JURY
Vv. ve
* No.: 2:20-cv-00980-WBV-DPC
ST. TAMMANY PARISH GOVERNMENT, * DISTRICT JUDGE:
et al., * WENDY B. VITTER
Defendants. * SECTION “D”
. MAGISTRATE JUDGE:
* DONNA PHILLIPS CURRAULT
* SECTION “2”

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

KEVIN LOUVIERE, et al.,
Plaintiffs; =
* DEMAND FOR JURY
v. *
* No.: 2:20-cv-01840-WBV-DPC
ST. TAMMANY PARISH GOVERNMENT, * DISTRICT JUDGE:
et al., * WENDY B. VITTER
Defendants. % SECTION “D”
. MAGISTRATE JUDGE:
Ea DONNA PHILLIPS CURRAULT
x SECTION “2”

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EXHIBIT

‘1

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AND NOW come the Plaintiffs, AHMED BAQER; KLABERT JOSEPH GUILLOT, SR.;
KEVIN LOUVIERE; TERRY MATTHEW HALL, JR.; and FLOYD WILLIAMS; by and through
their counsel, THE GLORIOSO LAW FIRM; JACOB LITIGATION, INC.; and ROMANUCCI &
BLANDIN, LLC; to submit the following Request for the Production of Documents to the
Defendants, to respond to within 30 days, in accordance with Rule 34 of the Federal Rules of Civil
Procedure, and the enclosed definitions and instructions:

Definitions

“Allegation” shall mean the statement of any fact or claim in any original or amended
Complaint.

“Complaint” shall mean the original or any amended Complaint.

“Defendant” shall mean any/all present or former Defendants, and any employee,
representative, agent, or other person, acting on behalf of any present or former Defendant.

“Document” shall have the broadest meaning possible, and include but not be limited to,
hardcopy or electronic format, audio and video recordings, email, voicemails, text messages, and
social media postings.

“Identify,” when used in reference to a person, shall mean to provide a full legal name,
address, telephone number, email address, and role or affiliation. When used in reference to a legal
entity, shall mean to provide the full legal name, address, telephone number, and website. When used
in reference to a document, shall mean to provide the document name, name of author, date authored,
format type, and identity of custodian.

“Incident” shall mean the circumstances that give rise to any claim stated in any original or
amended Complaint.

“Plaintiff” shall mean any/all present or former Plaintiffs.
“Person” shall include the singular and plural and shall include people and legal entities.

“You” shall mean any/all present or former Defendants, and any employee, representative,
agent, or other person, acting on behalf of any present or former Defendant.

Instructions

In accordance with Federal Rules of Civil Procedure 26 and 34, you are required to respond
to this Request for the Production of Documents within thirty (30) days. In responding to the
document request, you must produce all documents that are available to you, which includes,
documents in the possession of your attorney, doctor, insurer, or any other agent or employee. A
consolidated response is permitted. However, if a document request calls for a response from a
specific Defendant (as opposed to all Defendants generally) an individual response must be provided
by that specific Defendant. If you are unable to respond to a document request completely, you are
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required to respond to the document request to the fullest extent possible, and then to explain why
you cannot respond to the document request completely.

Document Requests

1. The 2019 and 2020 training books discussed during the 30(b)(6) deposition (excerpt
below) and requested for production on 1/17/2023.

for STPSO, Sgt. Lacey Joi Kelly-Robertson, Ind. and as Rep.. (Pages 97:13 to 99:25)
97
13 Q. Isee. So what I'm hearing you say
14 is that there's a uniform training program that
15 each guard is put through?
16 A. Correct.
1? Q. And it's a book that is used, and
18 it's signed off whether they -- how they
19 performed and how they did?
20 A. Correct.
21 Q. So then you would be able to produce
22 --"you," the agency -- would be able to produce
23 one of those blank books for the years 2019 and
24 '20, correct?
25 A. Yes.
98

Q. Allright. So -- and that would
cover the complete training provided to the
guards, correct?

A. Correct.

MR. JACOB:

So I'm going to ask, Chad, if you

guys would provide those blank training

books for 2019 and 2020.

MR. COLLINGS:
10 We'll look into it.
1] MR. JACOB:
12 Thank you, sir.
13. BY MR. JACOB:
14 Q. And would that book relate to all of
15 the policies that the agency wants to train
16 internally?
1} A. All of the policies?
18 Q. Whatever they want to provide
19 training for, I'm saying.

OonrArNA BWNe

20 A. Iwould have to look at it. Again,
21 it's been a while.
22 Q. Sure. Meaning there's no -- it's

23 not like Book 1, Book 2, Book 3. There's a
3
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24 training book, and that's what is used?

25

A. There's a -- there are different
99

1 training books for different areas within
2 corrections.

Q. Okay.
MR. JACOB:

So then my request would be a little
bit more specific for the training books
related to the holding cell areas for the
years 2019 and '20. And I'm -- what I'm
-- just so we're clear on the record, I'm

not asking for each guard's filled out

one. I'm saying the training book that
was used. So the blank one that was used
for each of those years.

MR. COLLINGS:

We'll look into it. But I would
suggest you might went to do a formal
request for production because I don't
want to get into a, well, we gave you
this, but I wanted "X" instead of "Y." It
might be better to do it in writing.

MR. JACOB:

It's very clear on the record. So,
yes, the training book that is used for
the holding cell areas for years 2019 and
2020, please.

2. The DOC inspection reports discussed during Major O’Keefe’s deposition (excerpt
below) and requested for production on 1/18/2023.

O'Keefe, Jr., Major Richard, (Pages 39:17 to 40:14)

17
18
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2]
ZZ
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39

Q. Okay. So, again, just to make sure
I'm being fair here, with respect to the state
and federal inspections that you recall
occurring, while you're pretty certain that --
excuse me -- the DOC inspected the DOC building
and the feds inspected the fed building, you're
not sure whether the inspection encompassed the

rest of the jail?
A. For the federal, I don't recall. My
40

1 understanding of the DOC state inspection was the
2 entire facility.

3

Q. Was there a report generated as far
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4 as the result of the inspections?

5 A. Jwould imagine. I don't have it.

6 ButI think DPS or DOC, Department of

7 Corrections, after they do it, they send it back
8 tous, what areas we get approved in.

9 Q. Okay.

10 MR. JACOB:

1] So I'm going to make a document
12 request for the inspections around the
13 time of these incidents, that they be

14 produced.

Respectfully Submitted,

s/ Devon M. Jacob

DEVON M. JACOB, ESQUIRE

PA Bar Number: 89182

JACOB LITIGATION, INC.

P.O. Box 837, Mechanicsburg, Pa. 17055-0837
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(Plaintiffs’ Counsel)

BENJAMIN L. CRUMP, ESQUIRE

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(850) 224-2023 | court@bencrump.com
(Plaintiffs’ Counsel) (Pro Hac Vice to be Filed)

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Date: June 2, 2023
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CERTIFICATE OF SERVICE

I hereby certify that on the date listed below, I served a copy of Plaintiff's Requests for the
Production of Documents Addressed to the Defendants, via Email, to all counsel of record, via their
email address of record.

s/ Devon M. Jacob Date: June 2, 2023
DEVON M. JACOB, ESQUIRE

